 Case 24-41512-mxm13             Doc 67     Filed 03/20/25 Entered 03/20/25 11:14:35                 Desc Main
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OFFICE OF THE STANDING CHAPTER 13 TRUSTEE
6851 N.E. Loop 820, Suite 300
North Richland Hills, TX 76180-6608
(817) 770-8500
(817) 498-1362 FAX
                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                          FORT WORTH DIVISION

IN RE:                                                    §             CASE NO: 24-41512-MXM
                                                          §
DAVID LYN LUTTRELL                                        §
                                                          §             CHAPTER 13
                                                          §
                                                          §             JUDGE MARK X MULLIN
    Debtor


                                       NOTICE OF WITHDRAWAL OF
                                      TRUSTEE'S MOTION TO DISMISS
                                            (Insufficient Plan)

NOTICE IS HEREBY GIVEN that Tim Truman, Trustee, hereby WITHDRAWS his "Motion to Dismiss
(Insufficient Plan)" filed on or about January 16, 2025.


                                         CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing "Notice of Withdrawal of Trustee's Motion to
Dismiss" was served on the parties listed below in the manner listed below on or before March 21, 2025.
BY FIRST CLASS MAIL:
DAVID LYN LUTTRELL, 2209 PONTIAC DR, ARLINGTON, TX 76013-0000
ELECTRONIC SERVICE:
NORRED LAW PLLC, 515 E BORDER, ARLINGTON, TX 76010
POPE HARDWICKE CHRISTIE SCHELL KELLY & TAPLETT, 500 W 7TH ST STE 600, FORT WORTH, TX 76102
LINEBARGER GOGGAN BLAIR & SAMPSON LLP, 3500 MAPLE AVE #800, DALLAS, TX 75219
United States Trustee, 1100 COMMERCE STREET, ROOM 976, DALLAS, TX 75242


                                                          Respectfully submitted,

                                                          By: /s/ Tim Truman
                                                          Tim Truman
                                                          Standing Chapter 13 Trustee
                                                          State Bar No. 20258000
                                                          6851 N.E. Loop 820, Suite 300
                                                          North Richland Hills, TX 76180-6608
                                                          (817) 770-8500
